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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT



 DEBORAH CARR, BRENDA MOORE,
 AND MARY ELLEN WILSON,

                Plaintiffs,
                                                    Case No. 3:22-cv-00988 (MPS)
 v.

 XAVIER BECERRA, SECRETARY,
 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES,

                Defendant.



  DEFENDANT’S MOTION FOR EXTENSION OF TIME, NUNC PR O TUNC , TO
     ANSWER OR OTHERWISE RESPOND TO AMENDED COMPLAINT

       Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure, Defendant, the Secretary of

Health and Human Services, hereby respectfully requests an extension of time, nunc pro tunc, to answer

or otherwise respond to the amended complaint. Defendant respectfully requests that the deadline

be extended to 21 days after the Court resolves the pending motion for preliminary injunction.

       On August 3, 2022, Plaintiffs filed a complaint, ECF No. 1, and a motion for a temporary

restraining order and preliminary injunction, ECF No. 3. The United States Attorney for the District

of Connecticut received service of process in this matter on August 4, 2022. ECF No. 16. Plaintiffs

filed an amended complaint on August 26, 2022. ECF No. 43. Under Federal Rules 12(a)(2) and

15(a)(3), Defendant’s response to the amended complaint was therefore due on October 3, 2022. Due

to an administrative oversight and a number of other pressing matters, undersigned counsel

miscalculated this deadline and inadvertently failed to timely request an extension of time to file an

answer or otherwise respond to the amended complaint. Defendant greatly regrets the error.
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        Good cause supports this extension. Granting this extension would not unduly delay this

action or impact any other pending deadlines in the case. Moreover, the Court has not yet ruled on

Plaintiffs’ pending motion for a preliminary injunction, and a hearing is set for October 26, 2022. See

ECF No. 60. Resolution of that motion would inform how Defendant responds to the amended

complaint, streamlining and facilitating the resolution of this case. For example, in his brief opposing

Plaintiffs’ preliminary injunction motion, Defendant raised critical jurisdictional arguments that affect

not only the preliminary injunction, but also further proceedings in this case. See Def.’s Mem. in Opp.

to Pls.’ Mot. for Prelim. Inj. at 11-16. Defendant also raised numerous legal arguments in his

opposition to the preliminary injunction motion, see id. at 16-25, and the resolution of those issues

may affect potential Rule 12(b)(6) arguments made in response to the amended complaint. Therefore,

extending the deadline for Defendant to respond to the amended complaint until after the Court has

weighed in on these jurisdictional issues as well as the other legal issues would foster judicial economy

and avoid duplicative briefing. Cf. Landis v. N. Am. Co., 299 U.S. 248, 254 (1936) (a district court

possesses inherent authority to “control the disposition of the causes on its docket with economy of

time and effort for itself, for counsel, and for litigants”).

        This is Defendant’s first requested extension of the deadline to respond to the amended

complaint. Defendant therefore respectfully requests that their deadline to answer or otherwise

respond to the amended complaint be extended until 21 days after the Court resolves the pending

motion for preliminary injunction. Defendant has conferred with counsel for Plaintiffs in this matter,

and Plaintiffs oppose the relief sought by this motion, but agreed to an extension until October 24,

2022.

Dated: October 6, 2022                                     Respectfully submitted,

                                                           BRIAN M. BOYNTON
                                                           Principal Deputy Assistant Attorney General


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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 6, 2022, a copy of the foregoing Motion for Extension of
Time was filed electronically and served by mail on anyone unable to accept electronic filing. Notice
of this filing will be sent by e-mail to all parties by operation of the Court's electronic filing system
or by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF System.

                                                        /s/ Madeline M. McMahon l
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